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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

JOHN DOE, an individual,

       Plaintiff,

vs.
                                                        Case No.: 18-cv-11776
                                                        Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX
                                                        Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a
constitutional corporate body (as to Title IX &
ELCRA violations), PAMELA HEATLIE,                         PLAINTIFF’S REPLY TO
ROBERT SELLERS, MARTIN PHILBERT,                         DEFENDANTS’ OPPOSITION
ERIK WESSEL, LAURA BLAKE JONES, E.                        TO PLAINTIFF’S MOTION
ROYSTER HARPER, SUZANNE                                   FOR AWARD OF INTERIM
MCFADDEN, and PAUL ROBINSON,                                ATTORNEY FEES AND
employees of the University of Michigan, sued in            COSTS AS TO HIS DUE
his or her personal and official capacities, jointly
                                                              PROCESS CLAIM
and severally,

       Defendants.

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 I.   Plaintiff is a “Prevailing Party”

      Defendants’ argument that Plaintiff is not a “prevailing party” as to his 42

U.S.C. § 1983 claim is entirely incorrect and disregards the facts of this case and

the relevant case law. Plaintiff’s objectives in filing this lawsuit were to 1) halt the

University’s unconstitutional process used to adjudicate the OIE complaint filed

against him; 2) obtain his engineering degree and an official, clean transcript that

was being unconstitutionally withheld from him; 3) obtain a determination that the

2018 Policy used to adjudicate the complaint against him was unconstitutional; and

4) obtain a determination that he was entitled to a live hearing and direct cross-

examination. Plaintiff indeed succeeded in all four of his objectives and is a

“prevailing party.”

      First, by virtue of this Court’s July 6, 2018 Order, Plaintiff succeeded in his

pursuit to halt the University’s use of its 2018 Policy in its adjudication of the

complaint against him. (Order, Dkt. # 30, Page ID 726-744). “Formally obtaining

relief” is not a prerequisite to interim fees. Hanrahan v. Hampton, 446 U.S. 754,

757 (1980). No matter what happened after this, Plaintiff succeeded in preventing

Defendants from using their 2018 Policy. This Court also ordered (prior to the

ruling in Doe v. Baum, 903 F.3d 575 (6th Cir. 2018)) that the University’s process

for adjudicating sexual misconduct complaints was unconstitutional and that they

must provide Plaintiff with due process:


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      As soon as practicable, the University is hereby ordered to provide
      Plaintiff with the opportunity for a live hearing in accordance
      with the procedures set forth in the Statement of Student Rights
      and Responsibilities. See Ex. A, Section VI. However, to the extent
      that the Statement authorizes Plaintiff to question Claimant directly,
      the Court revokes that authorization. At the hearing, Plaintiff may
      engage only in circumscribed cross-examination, a process
      through which he may submit questions to the Resolution Officer
      (“RO”), Resolution Coordinator (“RC”), or Student Resolution
      Panel to be asked of Claimant. Order, Dkt. # 30, Page ID 743
      (emphasis added).

      Defendants incorrectly state that this Order could not make Plaintiff a

“prevailing party” “because [it] was subsequently vacated by the Sixth Circuit.”

Their argument ignores reality. While the Sixth Circuit vacated this Court’s Order,

advising it to “consider the impact of Baum and Michigan’s interim policy,” it did

not do so to negate this Court’s Order halting the process; it did so because while

this Court granted Plaintiff two thirds of the relief Plaintiff sought – a hearing and

cross-examination – he was also entitled to the last one third – the opportunity to

directly question the accuser. The Sixth Circuit’s ruling is an additional win for

Plaintiff over and above what this Court ordered.

      Defendants also mistakenly argue that Plaintiff could not have been a

“prevailing party” with respect to his success in receiving his transcript and degree

because it “came as a result of the University’s voluntary actions.” Defendants did

not “voluntarily” remove the hold on Plaintiff’s student account and provide him

with his degree and clean transcript. (See Status Conference, Dkt. # 20, Page ID
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277-286). According to Black’s Law Dictionary, “voluntary” means “not impelled

by outside influence.” Voluntary, BLACK’S LAW DICTIONARY (11th ed. 2019).

Here, Defendants’ actions were greatly impelled by outside influence, specifically

1) Plaintiff’s Motion for Temporary Restraining Order and Preliminary Injunction

(Dkt. # 4, Page ID 133-162); and 2) this Court’s urging at the June 11, 2018

telephonic status conference (Conference, Dkt. # 20, Page ID 271-301) that

Defendants’ counsel recommend to their clients that they lift the hold from

Plaintiff’s account and provide him with his degree and a clean transcript (Id. at

Page ID 281-286). Defendants resisted Plaintiff’s request to lift the hold until well

into the June 11th phone conference. Therefore, Defendants’ actions were clearly

not voluntary.

      Nor does it matter if Defendants agreed to remove the hold. According to

this Circuit, “an earlier judicially sanctioned change in the parties' legal

relationship through a consent decree can be the basis of a plaintiff's prevailing

party status for purposes of § 1988.”1 Binta B. ex rel. S.A. v. Gordon, 710 F.3d

608, 625 (6th Cir. 2013) (citing Martin v. Hadix, 143 F.3d 246, 256 (6th Cir.

1998)) (emphasis added). “After that initial determination, plaintiff[] [is] not again

required to establish prevailing party status in the conventional sense of requiring a

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  The Supreme Court has also recognized that a plaintiff is a “prevailing party”
when the “‘court-ordered change in the legal relationship’ between the plaintiff and
defendant is ‘enduring’ and irrevocable.” McQueary v. Conway, 614 F.3d 591, 597
(6th Cir. 2010) (quoting Sole v. Wyner, 551 U.S. 74, 86 (2007)).
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judicially-sanctioned material change in the legal relationship of the parties. Id.

(citing Tx. State Teachers Ass'n, 489 U.S. 782, 792; Buckhannon Bd. of Care

Home, Inc. v. W. Va. Dept. of Health and Human Res., 532 U.S. 598, 604–05

(2001).   This Court’s June 14, 2018 Order “modif[ied] the [D]efendant[s’]

behavior in a way that directly benefit[ted]” Plaintiff. Woods v. Willis, 613 F.

App’x 359, 364 (6th Cir. 2015) (quoting Lefemine v. Wideman, 568 U.S. 1, 4

(2012)). The bottom line is that Plaintiff succeeded regardless of whether

Defendants conceded after Plaintiff filed his Motion, the Courts’ directive, or an

order to which the parties stipulated. There was a “judicially sanctioned change in

the legal relationship of the parties,” it is enduring and irrevocable and it is

sufficient to demonstrate Plaintiff’s “prevailing party” status. Buckhannon Bd. of

Care Home, Inc. 532 U.S. at 603.

      Defendants are similarly incorrect in their statement that “the changes to the

University’s sexual misconduct policy had nothing to do with this case.” This

Court held in its July 6, 2018 Order that Defendants’ 2018 Policy was

unconstitutional and that the Policy used against Plaintiff “deprive[d] [him] of a

live hearing and the opportunity to face his accuser.” (Order, Dkt. # 30, Page ID

739). The Court further ordered a live hearing and cross-examination. Id. The

Baum decision followed two months later and the University replaced its




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unconstitutional 2018 Policy on January 9, 2018. To say that this policy had

“nothing to do with this case” is false.

 II.   Plaintiff’s Requested Fee and Costs Award is Appropriate

       With regard to billing details, in Imwalle v Reliance Medical Products, Inc.,

515 F.3d 531, 553-554 (6th Cir. 2008) the Sixth Circuit agreed that time entries

providing the “briefest description” of the task completed (including “research,”

“review file,” “review documents,” etc.) were adequate when read in the context of

the billing statement as a whole and in conjunction with the timeline of the

litigation.

       As to the hourly rate of Deborah Gordon, the $550.00 rate is appropriate.

Gordon does not specialize in, nor was this case about, “school and education

law.” The area of law at issue was civil rights law, which incorporates § 1983

claims against the government, including schools. As set forth in Plaintiff’s

Motion, in 2009 Gordon was awarded $400.00 per hour in Zwick v. University of

Michigan, and in a 2013 in Title IX case, Gordon was awarded $500.00. To the

extent Defendants are looking to other “fields” in the State Bar Report, for the 95

percentile, partner/shareholder is $552/hour.

       An award of costs to the prevailing party is also authorized under 42 U.S.C.

§ 1988. Northcross v. Bd. of Educ., 611 F.2d 624, 639 (6th Cir. 1980). Specifically,

reasonable out of pocket expenses incurred by the attorney which are


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normally charged to a fee paying client, in the course of providing legal services,

are compensable. Id. All of Plaintiff’s costs are recoverable. See Cleveland Bd. of

Realtors v. City of Euclid, 965 F.Supp 1017 (N.D. OH 1997); Communities for

Equity v. Michigan High School Athletic Assn., 2008 WL 906031 (W.D. 3/31/08)

(photocopying expenses, messenger services, postage, phone use, paralegal

expense, travel costs, on line research recoverable under civil rights attorney fee

statute, 42 U.S.C. § 1988 if reasonable.)

      Lastly, Plaintiff has achieved much more than “limited (or non-existent)

‘success’.” Plaintiff directs this Court and Defendants to the above referenced

successes (and those outlined in his Motion). They are anything but “non-existent.”



                                       Respectfully submitted,

Dated: June 11, 2019                   DEBORAH GORDON LAW
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                         CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2019, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing and service of said documents to all parties through their
counsel of record.

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